                       Case 4:06-cr-00412-JM Document 311 Filed 12/03/10 Page 1 of 3
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1




          UNITED STATES OF AMERICA                                      Judgment in a Criminal Case
                             v.                                         (For Revocation of Probation or Supervised Release)
                 BRITTANY YOUNG

                                                                        Case No. 4:06cr00412-07 JMM
                                                                        USM No. 24456-009
                                                                        Arkie Byrd
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Std & Special         of the term of supervision.
D   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ after denial of guilt.

The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                             Violation Ended
General                           Failure to refrain from use of a controlled substance                     09/10/2010

Standard 2                        Failure to submit truthful monthly reports                                07/01/2010

Standard 5                        Failure to work regularly at a lawful occupation                           07/12/2010

Standard 9                        Failure to refrain from assocation with convicted felons                   10102/2010

       The defendant is sentenced as provided in pages 2 through            3       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 8630                     12/03/2010
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:           1985

City and State of Defendant's Residence:
Beebe, Arkansas
                                                                        §ce£= V;ign~
                                                                        James M. Moody                               US District Judge·
                                                                                               Name and Title of Judge

                                                                        12/03/2010
                                                                                                        Date
                     Case 4:06-cr-00412-JM Document 311 Filed 12/03/10 Page 2 of 3
AD 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet 1A
                                                                                          Judgment-Page   2    of     3
DEFENDANT: BRITTANY YOUNG
CASE NUMBER: 4:06cr00412-07 JMM

                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Special                       Failure to report for drug testing and complete outpatient drug treatment       09/02/2010
                        Case 4:06-cr-00412-JM Document 311 Filed 12/03/10 Page 3 of 3
  AD 245D    (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                              Judgment - Page     3     of        3
  DEFENDANT: BRITTANY YOUNG
  CASE NUMBER: 4:06cr00412-07 JMM


                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
TWELVE (12) MONTHS AND ONE (1) DAY




     rI The court makes the following recommendations to the Bureau of Prisons:
Defendant shall participate in residential substance abuse treatment or what ever treatment is available. Defendant shall
participate in psychological counseling.


     o   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
       o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
       o as notified by the United States Marshal.
     rI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ~ before 2 p.m. on _0_1/_0_3_/2_0_1_1                          _
         o    as notified by the United States Marshal.
         o    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

 I have executed this judgment as follows:




         Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL


                                                                            By    --===:-:-:::-::=:~::=_:_=:::':::_:_:~:::_::_:_:_--_
                                                                                       DEPUTY UNITED STATES MARSHAL
